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      Court-Appointed Receiver
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      Attorneys for Receiver
   11
   12                      UNITED STATES DISTRICT COURT
   13                    CENTRAL DISTRICT OF CALIFORNIA
   14
   15 FEDERAL TRADE COMMISSION,              Case No. LACV16-00999 BRO (AFMx)
   16                   Plaintiff,           RECEIVER’S RESPONSE TO
                                             MOTION OF INTERESTED
   17        v.                              PARTIES TO DISSOLVE OR
                                             OTHERWISE MODIFY
   18 DAMIAN KUTZNER, et al.,                PRELIMINARY INJUNCTION
   19                   Defendants.          JUDGE:    Hon. Beverly Reid O’Connell
                                             CTRM:     7C
   20                                        DATE:     June 19, 2017
                                             TIME:     1:30 p.m.
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                                                   Case No. LACV16-00999 BRO (AFMx)
          RECEIVER’S RESPONSE TO MOTION TO DISSOLVE/MODIFY PRELIMINARY INJUNCTION
Case 8:16-cv-00999-DOC-AFM Document 251 Filed 05/26/17 Page 2 of 3 Page ID #:6676



    1         Thomas W. McNamara, as Court-appointed Receiver, hereby responds to
    2 the Motion of Interested Parties Neil R. Anenberg and Carol A. Anenberg, to
    3 dissolve or otherwise modify the Preliminary Injunction (ECF No. 240) so that
    4 they may proceed with a nonjudicial foreclosure of their third trust deed loan on
    5 the Newport Beach residence owned by Time Out Management Ltd., LLC.
    6         The Receiver’s prior motion for authorization to sell this same property
    7 (motion filed February 13, 2017, ECF No. 187) was denied by the Court (Order
    8 entered March 10, 2017, ECF No. 202).
    9         If the Court finds the Anenbergs’ motion persuasive, the Receiver requests
   10 that any sale of the Newport Beach property be conducted through the receivership
   11 via a traditional real estate sale, not through the nonjudicial foreclosure requested
   12 by the Anenbergs. (See ECF No. 187 at 4:6-5:12.) Such a traditional sale would
   13 satisfy the indebtedness to the secured creditors, including the Anenbergs, and
   14 maximize the value of the property which, in turn, would maximize the potential
   15 consumer recovery from the receivership.
   16 Dated: May 26, 2017                      McNamara Benjamin LLP
   17
                                               By:   S/ Andrew W. Robertson
   18                                                Attorneys for Thomas W. McNamara,
                                                     Receiver
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                                                 1       Case No. LACV16-00999 BRO (AFMx)
          RECEIVER’S RESPONSE TO MOTION TO DISSOLVE/MODIFY PRELIMINARY INJUNCTION
Case 8:16-cv-00999-DOC-AFM Document 251 Filed 05/26/17 Page 3 of 3 Page ID #:6677



    1                             CERTIFICATE OF SERVICE
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    3         I hereby certify that on May 26, 2017, I caused the foregoing to be
    4 electronically filed with the Clerk of the Court using the CM/ECF system, which
    5 will send notification of the filing to all participants in the case who are registered
    6 CM/ECF users.
    7
    8                                            S/ Andrew W. Robertson
                                                Andrew W. Robertson
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                                                           Case No. LACV16-00999 BRO (AFMx)
                                                                    CERTIFICATE OF SERVICE
